                IN THE UNITED STATES DISTRICT COURT

             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA               :
                                       :
                 v.                    :       1:20CR479-1
                                       :
JASON SHUANG XU                        :


              FACTUAL BASIS IN SUPPORT OF GUILTY PLEA

      NOW COMES the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

pursuant to Federal Rule of Criminal Procedure 11(b)(3), and states the

following:

      On November 14, 2018, the Drug Enforcement Administration – Raleigh,

North Carolina District Office (DEA-RAL), opened an investigation into the

reported distribution of cocaine hydrochloride in the Chapel Hill, North

Carolina area. During March 2019, upon the execution of lawfully obtained

search warrants at several residences, the DEA and local law enforcement, (the

Orange County North Carolina Sheriff’s Office), arrested a subject – identified

herein as Cooperating Defendant 2 (CD2) – who was found in possession of 394

grams of cocaine hydrochloride (hereinafter cocaine). The drugs were seized

from a residence located in Carrboro, North Carolina. The cocaine was shipped

to CD2 from a source of supply in Ceres, California, who was later identified




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as Francisco Javier Ochoa, Jr. In addition to the cocaine found inside the

parcel, the agents and officers seized from this location an additional 48 grams

of cocaine, 15.75 pounds of marihuana, $17,775.00 in U. S. currency, 189

Alprazolam (Xanax) pills, steroids, human growth hormone, and other

narcotics. A search at a second residence in Hillsborough, North Carolina

associated with CD2, resulted in the seizure of 133 pounds of marihuana, a

rifle, and approximately $10,000 in U. S. currency.

      Further investigation into CD2’s drug trafficking activities revealed that

cocaine he obtained, initially from his codefendant, and subsequently from

Ochoa, was distributed to lower-level cocaine dealers who supplied students on

the campus of the University of North Carolina at Chapel Hill (UNC-Chapel

Hill). On many occasions, the subordinate drug distributors used Venmo – an

Automated Clearing House service – to pay CD2 for cocaine.

      Cooperating sources of information and cooperating defendants

identified JASON SHUANG XU as a subordinate drug distributor to CD2. XU

obtained one-half ounce quantities of cocaine hydrochloride (cocaine) from CD2

every two weeks during the school semesters at UNC-Chapel Hill in 2017 and

2018. CD2 utilized XU as an intermediary for the distribution of cocaine,

psilocybin (mushrooms), and alprazolam (Xanax) at the Kappa Sigma

Fraternity. XU is a member of this fraternity, and during the period set out

above, he provided illegal drugs to other fraternity members for distribution.

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      A review of information obtained, pursuant to a search warrant, from

XU’s iCloud account revealed text messaging threads with CD2 and others.

The search revealed photographs of cocaine, marihuana, marihuana use, and

cocaine use. CD2 and other cooperating defendants advised agents and officers

that XU used his Venmo account to buy and sell illegal drugs. A review of XU’s

Venmo account for the period September 2018 through February 2019 revealed

approximately 35 transactions that were conducted with people who were

linked to the illegal distribution of drugs. CD2 was one such individual. The

memos on the Venmo transactions linked to XU’s account reflected words such

as “Yo,” “LV Bag,” “Supreme Shirt,” and Rent.” CD2 confirmed to the agents

and officers that these were code words used to disguise drug transactions.

      Based on information obtained from CD2 and other cooperating sources,

it appears that, from in or about September 2018 up to and including February

2019, XU obtained and distributed at least 200 grams, but less than 300 grams

of cocaine hydrochloride from CD2. On or about November 27, 2018, XU

utilized a cellular telephone assigned telephone number 502-810-4188, in order

to purchase a quantity of cocaine via Venmo from CD2 for $1050.00. The memo

line for this transaction reflects the word “Rent.” XU conducted this

transaction while in the Middle District of North Carolina.




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This, the 15th of December 2020.

                             Respectfully submitted,

                             MATTHEW G.T. MARTIN
                             United States Attorney


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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 15, 2020, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to the following:

      Christopher A. Beechler, Esq.


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